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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


   EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH
                    Plaintiff, Counter-defendant,
                        v.
   APPLE INC.,                                      RESPONSE TO APPLE’S OBJECTIONS
                    Defendant, Counterclaimant.     TO SPECIAL MASTER RULINGS ON
                                                    APPLE INC.’S PRODUCTIONS OF RE-
                                                    REVIEWED DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-
Review Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following
response to Apple’s Objections to the Special Masters’ rulings (“Objections”), filed on
April 7, 2025. (Dkt. 1435.) Epic does not have access to all of the underlying documents
and is therefore unable to fully assess the bases on which Apple claims privilege; Epic
responds to Apple’s Objections on the limited information provided in Apple’s privilege log
entries for the documents.
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         Entry No. 2816 (PRIV-APL-EG_00176452) is an email Apple seeks to withhold in
its entirety. The sender and both recipients of the email are communications personnel, not
lawyers, and Apple concedes no attorneys are on the email. Apple asserts, however, that the
document is privileged because it is clear and explicit on its face that “Apple employees
explicitly relay legal advice”. (Dkt. 1435 at 2.) Yet a Special Master reviewed the
document and ruled that the document was not privileged or protected. Epic is unable to
fully assess Apple’s Objections without access to the document.
        Entry No. 3103 (PRIV-APL-EG_00182423) is an email from Hannah Smith to Marni
Goldberg, both of whom are nonlawyer communications personnel at Apple. Apparently,
the email chain includes in-house counsel Kyle Andeer’s response to a press inquiry
regarding “global regulatory enforcement against Apple”, which Apple seeks to redact.
(Dkt. 1435 at 3.) Apple claims this response included Mr. Andeer’s “impressions of cases in
different forums, the implementation of new laws and his insight on how Apple has adapted
in response to regulatory enforcement.” (Id.) A Special Master reviewed this document and
concluded that it does not disclose legal advice. Without access to the document, Epic is
unable to assess whether Mr. Andeer’s response constitutes legal advice (in whole or in
part), or merely provides factual information and/or business advice.
       Entry No. 3112 (PRIV-APL-EG_00182472) is an email from Ms. Goldberg to Ling
Lew, Sean Cameron and Jennifer Brown, in-house counsel at Apple. Apple seeks to redact
the document, and claims that the redacted text consists of questions directed to attorneys for
the purpose of obtaining legal advice. (Dkt. 1435 at 4). However, the document title
suggests the email is about a “press q[uestion]”, and answers to press-related inquiries do not
necessarily implicate legal advice. A Special Master reviewed this limited redaction and
determined it was not warranted. Epic cannot fully assess Apple’s Objection.
        Entry No. 3134 (PRIV-APL-EG_00182609) is an email from Ms. Goldberg to Fred
Sainz, former Senior Director, Corporate Communications. Apple seeks to redact this
document, maintaining that it “reflect[s]” legal advice, but the privilege log affirmatively
states that the legal advice “reflect[ed]” is from “unspecified attorneys”. In its Objection,
Apple newly claims that the redacted text in fact includes legal impressions from a meeting
with Kate Adams, Apple’s General Counsel. (Dkt. 1435 at 5.) Apple maintains that
communications between nonlawyer employees are privileged if they transmit legal advice.
(Id.) But Apple provides no information to substantiate its new claim concerning the origin
of the advice, and very little to assist Epic (and the Court) in determining whether any
meeting with Ms. Adams resulted in legal advice that was in fact privileged. Clearly, Ms.
Adams’s presence at a meeting, on its own, does not justify assertions of privilege. A
Special Master reviewed the document and found—on the basis of the information provided
in the log—that the document was neither privileged nor protected. Nothing in the
Objection suggests that conclusion was incorrect.
        Entry No. 3169 (PRIV-APL-EG_00182967) is an email from Emma Wilson,
Corporate Communications, Brussels Lead, to Ms. Goldberg. The email concerns a press
inquiry regarding the “scope of alternative payment in guidelines”—a highly relevant topic
in these proceedings. Apple’s Objection claims the redaction in the document covers the
“verbatim” legal advice of Mr. Cameron regarding foreign regulatory issues. (Dkt. 1435 at
6.) But Mr. Cameron is a “business lawyer”, “not litigation counsel” (Feb. 25, 2025, Hr’g
Tr. 1481:9-1482:6), and has been extensively involved in Project Wisconsin and adjacent
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projects, many times offering input that has little or nothing to do with legal advice. And the
fact that the employee’s email relayed information provided by Mr. Cameron likewise is not
indicative that the response actually constitutes legal advice. A Special Master reviewed this
document and concluded that it does not disclose legal advice. Epic’s review of the
privilege log does not suggest that conclusion was incorrect.
         Entry No. 12354 (PRIV-APL-EG_00274886) is a document prepared by third-party
economic consultants for a filing with the European Commission (all of which is information
Apple newly provides in its Objection). (Dkt. 1435 at 7). Apple seeks to withhold the
document in full, asserting in its privilege log both attorney-client privilege and work
product protection. 1 Notably, in the privilege log, Apple did not identify which attorneys
were implicated by this document, only stating that the “[d]ocument reflect[ed] information
to obtain legal advice from Apple legal”. And, the Special Master noted that they
“c[ould]n’t tell who made the edits” to the document. Now, though, Apple provides the new
information that its counsel directly contributed to the document with suggested edits, and
that there are comments from attorneys on the face of the document. Apple also now claims
this document is a duplicate of a document attached to cover email APL-EG_10949338,
showing that the comments are from D. Tina Wang, Apple in-house counsel. But Apple did
not provide a parent cover email for this document to the Special Master, instead giving
them a standalone custodial document. Apple cannot now supply new information in its
Objection that it did not provide to the Special Master in the form of an entirely different set
of documents. (See, e.g., Dkt. 1139.) This is information that should have been provided in
the first instance. Apple should not be allowed to substantially supplement its privilege
assertions through an Objection to the Special Master ruling to avoid producing the
document. If Apple hasn’t forfeited its privilege claim over this document, the document is
only privileged if the edits are in fact legal advice and the advice is discernible in the draft.
The Special Master determined that Apple failed to demonstrate the latter.


      DATED: April 9, 2025                                        CRAVATH, SWAINE & MOORE LLP
                                                                  By: /s/ Yonatan Even
                                                                  Counsel for Plaintiff Epic Games, Inc.




1
    In its privilege log, Apple offered no privilege description justifying a work product claim.
